Case 0:18-cv-61721-BB Document 8-1 Entered on FLSD Docket 08/14/2018 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FT. LAUDERDALE DIVISION

                                  CASE NO.: 0:18-CV-61721-BB

 SCOTT ROSSO, individually and on behalf of
 all others similarly situated,

                  Plaintiff,

 v.

 CHEETAH MOBILE AMERICA, INC., a
 California Liability Company,

             Defendants.
 _____________________________________/

       [PROPOSED] ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR
      EXTENSION OF TIME OF TO FILE RESPONSE TO CLASS ACTION COMPLAINT

         THIS CAUSE is before the Court upon on Defendant’s Unopposed Motion for

 Extension of Time to File Response to Class Action Complaint (the “Motion”). Being fully

 advised in the premises, it is hereby:

         ORDERED AND ADJUDGED that the Motion is GRANTED. Defendant Cheetah

 Mobile America, Inc. shall have through and including September 19, 2018 to file its response

 to the Class Action Complaint in this action.

         DONE AND ORDERED this ___ day of ________, 2018.


                                                 __________________________________
                                                 BETH BLOOM
                                                 DISTRICT COURT JUDGE

 Copies furnished to:

 All Counsel and/or Parties of Record


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